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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL ACTION NO. 08-7-DLB-EBA-1

UNITED STATES OF AMERICA                                                       PLAINTIFF


VS.                                       ORDER


ROGER A. BROWNE                                                              DEFENDANT

                                    *********************

       This matter is before the Court on Defendant’s Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255. (Doc. # 358). Consistent with local

practice, this matter was referred to Magistrate Judge Edward B. Atkins for the purpose of

reviewing the motion and preparing a Report and Recommendation (R&R). After reviewing

the issues raised by Defendant, Magistrate Judge Atkins issued a R&R on February 2,

2012 (Doc. # 488) recommending that Defendant’s Motion to Vacate be denied. No

objections to the R&R having been filed, and the time to file objections having now expired,

the motion and R&R are ripe for review.

       Having reviewed the Magistrate Judge’s R&R, the Court concurs with his

recommended disposition. Defendant knowingly and voluntarily waived his right to file a

collateral attack on his guilty plea, conviction and sentence.      Furthermore, none of

Defendant’s numerous allegations in his motion undermine the validity of his guilty plea.




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        Accordingly, IT IS ORDERED AND ADJUDGED that:

        (1)      the Magistrate Judge’s Report and Recommendation (Doc. # 488) is hereby

                 ADOPTED as the Findings of Fact and Conclusions of Law of the Court;

        (2)      Defendant’s Motion to Vacate, Set Aside or Correct Sentence (Doc. # 358)

                 is hereby DENIED;

        (3)      the Court certifies that, for the reasons previously set forth in the Report and

                 Recommendation of the Magistrate Judge (Doc. # 488), there would be no

                 arguable merit for an appeal in this matter and, therefore, no certificate of

                 appealability will issue; and

        (4)      this matter is hereby DISMISSED WITH PREJUDICE, and stricken from the

                 Court’s docket.

        This 23rd day of February, 2012.




G:\DATA\ORDERS\Ashland Criminal\2008\08-7-1 Order adopting R&R.wpd




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